                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


JAMES WADE
_______________________________
                                                             CIVIL ACTION
                                    Plaintiff                      11-10051-GAO
                                                             NO._____________
                             V.

DONNA DENESE ATHERTON, MSW

                                    Defendant




                                        NOTICE OF DEFAULT


         Upon application of the Plaintiff,      JAMES WADE          for an order of
Default for failure of the Defendant, DONNA DENESE ATHERTON, MSW , to
plead or otherwise defend as provided by Rule 55(a) of the Federal Rules of Civil
Procedure, notice is hereby given that the Defendant has been defaulted this 19
day of       JUNE, 2012                             .



                                                        SARAH A. THORNTON
                                                        CLERK OF COURT



                                                  By:   /s/ Paul Lyness
                                                        Deputy Clerk

Notice mailed to:




(Default Notice.wpd - 3/7/2005)
